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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA
                                                 NO. 3:17-CR-388-M
v.

DARIUS FIELDS (01)

           GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
         FOR THE APPLICATION OF A HIGHER STANDARD OF PROOF

         The United States of America (“the government”) respectfully responds to Darius

Fields’ motion for the Court to apply a higher standard of proof concerning sentencing

facts. (See Dkt. 218.) Here, Fields, citing United States v. Hymas, 780 F.3d 1285 (9th

Cir. 2015), and United States v. Valencia, 222 F.3d 1173 (9th Cir. 2000) (establishing the

“Valencia factors”), vacated and remanded on other grounds, 532 U.S. 901 (2001),

argues that the Court should apply the “clear and convincing evidence” standard of proof,

instead of the traditional “preponderance of the evidence” standard, toward finding facts

that justify a significant upward sentencing variance or departure. The government

disagrees.

                                         Argument

         1.    Fifth Circuit case law provides that sentencing facts—even if they
               result in a significant variance or departure—need only be found by a
               preponderance of the evidence.

          Under the advisory Guidelines regime, the Fifth Circuit provides that a

sentencing judge may find all facts relevant to sentencing under the standard of

preponderance of the evidence. United States v. Hebert, 813 F.3d 551, 564 (5th Cir.

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2015); see also United States v. Mares, 402 F.3d 511, 519 (5th Cir. 2005) (“The

sentencing judge is entitled to find by a preponderance of the evidence all the facts

relevant to the determination of a Guideline sentencing range and all facts relevant to the

determination of a non-Guidelines sentence.”); United States v. Partida, 385 F.3d 546,

564-66 (5th Cir. 2004) (no error in sentencing court’s failure to apply “clear and

convincing evidence” standard).

       Accordingly, because “the Fifth Circuit has never required such a heightened

burden,” the preponderance of the evidence standard should apply to sentencing facts.

United States v. Brooks, 681 F.3d 678, 713 (5th Cir. 2012) (emphasis added). In fact, in

Brooks, the Fifth Circuit noted that “nearly all of our fellow circuits have rejected the

need to apply a heightened standard in light of the advisory nature of the Guidelines.” Id.

       In Hebert, for example, the defendant was convicted for offenses involving bank

fraud, and the district court—following a four-day hearing where it found that he had

committed an unadjudicated murder—significantly varied upwardly from the advisory

Guidelines (initially recommending six to seven years’ imprisonment) and imposed an

imprisonment term of 92 years, which was within the statutory maximum of 153 years.

813 F.3d at 562. Hence, the sentencing court imposed an imprisonment term that was 13

to 15-fold greater than the term recommended by the advisory Guidelines, and the Fifth

Circuit affirmed the sentence, holding (1) that the preponderance of the evidence

supported the court’s finding that he committed the murder, and (2) that the court’s

significant upward variance was substantively reasonable under the Section 3553(a)

factors. Id. at 560, 561-62.

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       Here, the Court may consider Fields’ drug trafficking and related crimes and,

importantly, his ordering an innocent child’s kidnapping that resulted in her murder, in

fashioning an appropriate sentence under Section 3553(a) because the preponderance of

the evidence establishes these facts. See 18 U.S.C. § 3661 (“No limitation shall be placed

on the information concerning the background, character, and conduct of a person

convicted of an offense which a court of the United States may receive and consider for

the purpose of imposing an appropriate sentence.”).

       2.     Alternatively, the facts reflect—by clear and convincing
              evidence—that Fields is a violent, armed drug trafficker
              responsible for the kidnapping and murder an innocent 13-year-
              old girl over stolen marijuana in June 2017, and that he
              participated in another drug-related murder in October 2015.

       Alternatively, the government has shown by clear and convincing evidence that

Fields is a violent, armed drug-trafficker, who ordered the kidnapping of an innocent 13-

year-old girl—that resulted in her murder—over approximately $100,000 worth of

marijuana stolen from him on June 26, 2017, and that he also participated in another

drug-related murder on October 9, 2015. The government established these facts by

substantial specific evidence, which consists, by way of example, of a corroborated

confession made to another inmate, corroborated statements of accomplices and

witnesses, telephone records, text messages, photographs, motel records, motel

surveillance video, arcade video, and airline records.




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                                       Conclusion

       The preponderance of the evidence establishes facts that justify a significant

upward sentencing variance or departure in this case and, alternatively, these same facts

have been established by clear and convincing evidence.

                                          Respectfully submitted,

                                          ERIN NEALY COX
                                          UNITED STATES ATTORNEY

                                          s/Gary C. Tromblay
                                          Gary C. Tromblay
                                          Assistant United States Attorney
                                          Louisiana Bar Roll No. 22665
                                          1100 Commerce Street, Third Floor
                                          Dallas, Texas 75242
                                          Telephone: 214-659-8600
                                          Facsimile: 214-659-8805
                                          Email: gary.tromblay@usdoj.gov

                                          s/Camille Sparks
                                          Camille Sparks
                                          Assistant United States Attorney

                              CERTIFICATE OF SERVICE
       I hereby certify that on April 25, 2019, I electronically filed the above and
foregoing document with the Clerk of Court for the United States District Court,
Northern District of Texas, using the electronic case filing system of the Court. The
Court’s filing system notified opposing counsel.

                                          s/Gary C. Tromblay          _____
                                          Gary C. Tromblay
                                          Assistant United States Attorney




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